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UN|TED STATES OF A|VlER|CA

 

Plaintiff

VS.
CR. NO. 05-20143-D

IV||STY BONDS,
BRYANT EDWARDS

Defendant.

 

ORDER ON CONT|NUANCE AND SF’ECIFYING PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on May 19, 2005. At that time, counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with
a report date of Thursday, August 25. 2005, at 9:00 a.m., in Courtroom 3J ch F|oor of
the Federa| Building, |Vlemphis, TN.

The period from l\/lay 19, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional
time to prepare outweigh the need for a speedy trial.

n ls so oRoEREo this,?& day of May, 2005.

    
 

RN|CE B. DONALD
N|TED STATES D|STR|CT JUDGE

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Honorable Bernice Donald
US DISTRICT COURT

